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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


  AMERICA FIRST LEGAL
  FOUNDATION,
  611 Pennsylvania Ave., SE #231
  Washington, D.C. 20003

                       Plaintiff,                Civil Action No.: 24-3075

               v.

  NATIONAL SCIENCE
  FOUNDATION,
  2415 Eisenhower Avenue
  Alexandria, VA 22314

                       Defendant.


                                    COMPLAINT

      1.     Plaintiff America First Legal Foundation (AFL) brings this action

against the National Science Foundation (NSF), to compel compliance with the

Freedom of Information Act (FOIA), 5 U.S.C. § 552.

                           JURISDICTION AND VENUE

      2.     This Court has jurisdiction over this action pursuant to 5 U.S.C.

§ 552(a)(4)(B) and 28 U.S.C. § 1331. Additionally, it may grant declaratory relief

pursuant to 28 U.S.C. § 2201 et seq.

      3.     Venue is proper in this District pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1391(e).
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                                       PARTIES

      4.     The Plaintiff, AFL, is a nonprofit organization working to promote the

rule of law in the United States, prevent executive overreach, ensure due process and

equal protection for all Americans, and encourage public knowledge and

understanding of the law and individual rights guaranteed under the United States

Constitution and the laws of the United States. AFL’s mission includes promoting

government transparency and accountability by gathering official information,

analyzing it, and disseminating it through reports, press releases, and/or other

media, including social media platforms, all to educate the public.

      5.     The Defendant, NSF, is an agency under 5 U.S.C. § 552(f), located at

2415 Eisenhower Avenue, Alexandria, VA 22314.

      6.     The Defendant has possession, custody, and control of the requested

records.

                                       BACKGROUND

      7.     In the early days of their administration, the Biden-Harris White House

created a task force on scientific integrity to provide “a review of the impact on

scientific integrity of diversity, equity, and inclusion practices” at all science-related

agencies. Memorandum on Restoring Trust in Government Through Scientific

Integrity and Evidence-Based Policymaking, 86 Fed. Reg. 8845 (Jan. 27, 2021).

      8.      Additionally, the White House and NSF ordered agencies to

“[i]ncorporate DEIA [Diversity, Equity, Inclusion, and Accessibility] considerations

into all aspects of science planning, execution, and communication.” EXEC. OFF. OF




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THE PRESIDENT, SCI. INTEGRITY FAST-TRACK ACTION COMM. OF THE NAT’L SCI. & TECH.


COUNCIL, REPORT ON PROTECTING THE INTEGRITY OF GOVERNMENT (2022), at 27

https://perma.cc/PHL8-CEVX.

      9.     According to a recent report from the Senate Committee on Commerce,

Transportation, and Science, 3,483 grants from NSF between 2021 through April

2024—totaling over $2.05 billion in federal dollars—were awarded to projects that

promoted diversity, equity, and inclusion (DEI). S. COMM. ON COM., SCI., & TRANSP.,

118TH CONG., REPORT ON D.E.I. DIVISION. EXTREMISM. IDEOLOGY.: HOW THE BIDEN-

HARRIS NSF POLITICIZED SCIENCE (2024), at 1, https://perma.cc/Z7LC-UW9F.

      10.    According to the Senate report, “[w]hile only 0.29% of all grants with

start-dates in 2021 centered on DEI initiatives, by 2024, more than a quarter (27%)

of new grants pushed far-left perspectives.” Id. at 3.

                               AFL’S FOIA REQUEST

      11.    To better understand the background of the individuals appointed to

NSF, AFL submitted a FOIA request to NSF on May 9, 2023. See Ex. 1.

      12.    This request sought a fee waiver. See id.

      13.    On May 9, 2023, NSF responded to AFL, confirming the submission of

AFL’s FOIA request, providing a tracking number, and providing an “estimated

response date” of June 5, 2023. See Ex. 2.

      14.    As of the date of this filing, AFL has received no further communications

from NSF about this request.




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                                CLAIM FOR RELIEF

                           Violation of the FOIA, 5 U.S.C. § 552

      15.      AFL incorporates paragraphs 1–14 by reference.

      16.      AFL properly requested records within the possession, custody, and

control of NSF.

      17.      NSF failed to conduct searches for responsive records.

      18.      Moreover, because NSF failed to conduct searches, it has failed to

disclose any segregable, non-exempt portions of responsive records. See 5 U.S.C. §

552(b).

      19.      NSF has failed to respond to AFL’s requests within the statutory time

period. See 5 U.S.C. § 552(a)(6).

      20.      Accordingly, AFL has exhausted its administrative remedies. See 5

U.S.C. § 552(a)(6)(C).

      21.      NSF has violated the FOIA by failing, within the prescribed time limit,

to reasonably search for records responsive to AFL’s FOIA request and release

nonexempt records.

                               PRAYER FOR RELIEF

      WHEREFORE, AFL respectfully requests that this Court:

      i.       Declare that the records sought by AFL’s requests must be disclosed

pursuant to 5 U.S.C. § 552;

      ii.      Order the Defendant to search immediately, demonstrating search

methods reasonably likely to lead to the discovery of responsive records;




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      iii.   Order the Defendant to produce by a date certain all non-exempt records

responsive to AFL’s FOIA requests, accompanied by a Vaughn index of any

responsive records or portions of responsive records being withheld under a claim of

exemption;

      iv.    Order the Defendant to grant AFL’s requests for fee waivers;

      v.     Award AFL attorneys’ fees and costs incurred in this action pursuant to

5 U.S.C. § 552(a)(4)(E); and

      vi.    Grant AFL such other and further relief as this Court deems proper.


Date: October 30, 2024


                                          Respectfully Submitted

                                          /s/ Michael Ding
                                          Michael Ding (D.C. Bar No. 1027252)
                                          Tel: (202) 964-3721
                                          E-mail: Michael.Ding@aflegal.org
                                          Rachel Jag* (MO Bar No. 70674)
                                          (admission pro hac vice forthcoming)
                                          Tel: (301) 778-4181
                                          E-mail: Rachel.Jag@aflegal.org
                                          AMERICA FIRST LEGAL FOUNDATION
                                          611 Pennsylvania Avenue SE #231
                                          Washington, D.C. 20003
                                          Counsel for the Plaintiff
                                          America First Legal Foundation




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